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IN THE UNITED STATES DISTRICT COURT q £D BY ~- D-‘-`~
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN 20 PH o
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LECTROLARNI CUSTOM SYSTEMS, INC., W.D. OF TN. MEMPH|S

Plainaff,
CIVIL No. 03-2330 (Ma)(A)
V.

VICON INDUSTRIES, INC., et al.

Defendants.

'\_l\_/\\_/\_/`-I\_V\_/\_I\_/\-_/\,f

 

§__ _"` `_ORDER GRANTING LECTROLARM’S MOTION SEEKING
AUTHORIZATION TO SUBMIT TO THE COURT A REPLY MEMORANDUM TO
SENSORMATICl BOSCH AND VICON’S OPPOSITIONS TO LECTROLARM’S
MOTION TO COMPEL RESPONSES TO INTERROGATORIES AND RE UESTS
FOR ADMISSIONS

 

Lectrolarm having moved the Court to authorize the filing of a reply to Sensormatic,
Boseh, and Vicon’s Oppositions to Lectrolarm’s Motion to Compel Responses to Lectrolarm's
Motion to Compel Responses to Interrogatories and Requests for Admissions, the Court has

determined that it is appropriate to authorize such filing.

It is So ORDERED this Z'Q"£'day of Y~¢ , 2005. _

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